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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                     8:13CR211

       vs.
                                                                      ORDER
NARISSA PAPPAN,

                     Defendant.


     Defendant Narissa Pappan appeared before the court on Monday, December 5, 2016 on an
Amended Petition for Warrant or Summons for Offender Under Supervision [168].             The
defendant was represented by Assistant Federal Public Defender Jeffrey L. Thomas, and the
United States was represented by Assistant U.S. Attorney Susan T. Lehr. The government did
not request detention, therefore, the Defendant was not entitled to a preliminary examination.
The defendant was released on current terms and conditions of supervision.
     I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Chief Judge Smith Camp.


IT IS ORDERED:
       1.     A final dispositional hearing will be held before Chief Judge Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, on February 2, 2017 at 9:00 a.m. Defendant must be present in person.
       2.     The defendant is released on current conditions of supervision.




       Dated this 6th day of December, 2016

                                                    BY THE COURT:
                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge
